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                                      UNITED STATES DISTRICT COURT
   17
                                   CENTRAL DISTRICT OF CALIFORNIA
   18

   19     IN RE: NATIONAL FOOTBALL                        Case No. 2:15-ml-02668−PSG (SKx)
   20
          LEAGUE’S “SUNDAY TICKET”                        REPLY IN SUPPORT OF
          ANTITRUST LITIGATION                            DEFENDANTS’ MOTION IN
   21     ______________________________                  LIMINE NO. 6 TO EXCLUDE
                                                          CERTAIN OPINIONS OF J.
   22                                                     DOUGLAS ZONA
          THIS DOCUMENT RELATES TO:
   23                                                     Judge: Hon. Philip S. Gutierrez
          ALL ACTIONS
   24
                                                          Date: May 17, 2024
                                                          Time: 2:30 p.m.
   25                                                     Courtroom: First Street Courthouse
   26                                                                350 West 1st Street
                                                                     Courtroom 6A
   27                                                                Los Angeles, CA 90012
   28
         Case No. 2:15-ml-02668-PSG (SKx)        Defendants’ Reply In Support Of Motion In Limine No. 6 To Exclude
                                                 Certain Testimony From J. Douglas Zona
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    1           None of Plaintiffs’ attempts to defend the critical flaws in Dr. Zona’s models
    2   has any merit. The fact that Dr. Zona did not address the problems Defendants raise,
    3   see ECF No. 1208-1, Pls.’ Opp. Defs.’ Mot. in Limine No. 6 (“Opp.”) at 1, is precisely
    4   the point. Dr. Zona’s failure to explain, let alone justify, key assumptions in his
    5   models compels exclusion of his testimony.
    6           Attempting to remedy this failure, Plaintiffs offer facts and arguments that
    7   were not included in Dr. Zona’s reports, but those post hoc justifications should be
    8   disregarded because they cannot demonstrate that Dr. Zona’s work “reflects a reliable
    9   application of the principles” of economics “to the facts of the case.” Fed. R. Civ. P.
   10   702(d). While Plaintiffs fall back on the argument that these critiques go to the
   11   weight, not the admissibility, of Dr. Zona’s opinions, that argument ignores that
   12   recent revisions to Rule 702 were specifically intended to remedy “incorrect” over-
   13   reliance on that principle. Fed. R. Evid. 702 Advisory Committee’s Note to the 2023
   14   amendment. Dr. Zona’s opinions regarding his economic models should be excluded.
   15   I.      Dr. Zona Impermissibly Assumes That The NFL Would Behave In An
   16           Economically Irrational Manner In The But-For World.

   17           Plaintiffs fail to justify Dr. Zona’s unfounded assumption that the NFL would
   18   act irrationally in the but-for world by maintaining a fixed-fee structure while
   19   licensing to multiple distributors. They do not dispute the core economic principle
   20   that while it can be rational to license content to an exclusive distributor using a fixed-
   21   fee approach, it is not rational to license content to multiple distributors using that
   22   approach. See ECF No. 1124-1, Defs.’ Mot. in Limine No. 6 (“Mot.”) at 3–5. Nor
   23   could they dispute it, as this principle is both established by the economic literature
   24   and confirmed by the real-world conduct of other licensors. See Id. at 3–4; ECF No.
   25   1153-6, Expert Report of Ari Yurukoglu, dated April 28, 2023 (“Yurukoglu Rep.”)
   26   ¶¶ 35–39.
   27           As an initial matter, Plaintiffs cannot meet their burden to establish
   28   admissibility under Rule 702 because Dr. Zona failed to analyze the question at all.
                                                      1
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    1   Opp. at 3, entirely misses the point. The “precision” required under binding Ninth
    2   Circuit precedent is not the incorporation of all current conditions into the but-for
    3   world, but rather, a careful evaluation of which real-world conditions would, and
    4   would not, persist in the but-for world, given the changes in economic incentives.
    5   See In re HIV Antitrust Litig., 656 F. Supp. 3d 963, 1006 (N.D. Cal. 2023) (“Antitrust
    6   cases presume the existence of rational economic behavior in the hypothetical free
    7   market.” (internal citation and quotation marks omitted)); see also Mot. at 2–3.
    8           Dr. Zona’s failure to consider the well-established economic incentives that
    9   would exist in a world with multiple licensees, and his decision to uncritically adopt
   10   a fixed-fee assumption that results in a high damages award, warrants exclusion.
   11
        II.     Dr. Zona’s T&V Model Should Be Excluded Because It Fails To Model
   12           Demand For Sunday Ticket Reliably.
   13           Plaintiffs also fail to plausibly defend Dr. Zona’s use of a multinomial logit
   14   model to analyze viewer preferences within each DMA. Plaintiffs do not dispute that
   15   Dr. Zona’s model of viewership has the “independent of irrelevant alternatives,” or
   16   IIA, property, which has led another court in this Circuit to exclude a model under
   17   the (then-pending) revisions to Rule 702. See Opp. at 6. Plaintiffs agree that all
   18   viewers within a given DMA do not have the same substitution preferences, which
   19   violates a necessary precondition to relying on a model with the IIA property. See id.
   20   at 4–5. And they do not dispute that logit models that have the IIA property, but that
   21   are applied to populations with variable substitution preferences, must be excluded
   22   as unreliable. See id. at 6. Plaintiffs instead make two arguments for why Dr. Zona’s
   23   model is not subject to exclusion under the above premises, but neither argument
   24   finds support in Dr. Zona’s reports.
   25           First, Plaintiffs assert that Dr. Zona used a “nested-logit model,” rather than a
   26   regular “logit model,” and that therefore, it does not display the relevant “type” of
   27   IIA property. Opp. at 6. This assertion is incorrect. Plaintiffs do not include any
   28   citations to either of Dr. Zona’s reports that suggest that his model of viewership is a
                                                     3
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    1   5532128, at *8 (N.D. Cal. Aug. 28, 2023) (explaining that some customers’ specific
    2   preferences for single-shooter games within a broader app category were not
    3   accounted for in the logit model, and thus the model’s imposition of the IIA property
    4   was not supportable). As in Google Play, Dr. Zona does not account for the fact that
    5   fans’ preferences for individual teams are highly and systematically varied even
    6   within a DMA. Dr. Zona’s logit model of viewership thus cannot reliably predict
    7   substitution patterns, which is a necessary component of Dr. Zona’s overall modeling
    8   structure. The model accordingly must be excluded for the same reasons that the logit
    9   model in Google Play was excluded. Id. at 7–9.
   10   III.    The Conjoint Model’s Reduction Factors Should Be Excluded Because
   11           Their Use Of Real-World List Prices Is Indefensible Cherry-Picking.

   12           Plaintiffs’ defense of Dr. Zona’s decision to use Sunday Ticket’s list price,
   13   rather than its average purchase price,
   14             is equally unavailing. Plaintiffs do not dispute that Dr. Zona
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   17                                       . Opp. at 7. Their attempt to justify this nonsensical
   18   comparison boils down to semantic gamesmanship. They claim that $295 was “the
   19   approximate retail price at which the Sunday Ticket package was sold,” Opp. at 7,
   20   but the relevant point is that this price does not reflect what the typical consumer
   21   actually paid, making it an unreliable and improper benchmark for damages. See
   22   Yurukoglu Rep. ¶ 16 n.27. Plaintiffs admit that
   23                                                                 Opp. at 7 (emphases omitted). That
   24

   25   explain, logit models simply do not produce reliable results if there are “systemic
        differences” in preferences among the individual members of the population being
   26   studied. Yurukoglu Rep. ¶ 70; see also In re Google Play Store Antitrust Litigation,
        2023 WL 5532128, at *8 (N.D. Cal. Aug. 28, 2023) (“[T]astes that vary with
   27   unobserved variables or purely randomly cannot be handled. . . . [I]f taste variation
   28   is at least partly random, logit is a misspecification.”) (internal citations and quotation
        marks omitted).
                                                             5
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    1   is the relevant comparator.
    2           Plaintiffs also offer no explanation for why, if the                                were as
    3   irrelevant as they now claim, see Opp. at 7–8, it was appropriate for Dr. Zona to use
    4   it as the actual-world price in his T&V model. See Mot. at 9; Yurukoglu Rep. ¶ 81 &
    5   Fig. 15. Dr. Zona’s failure to use consistent assumptions for the same real-world
    6   value of average pricing for NFL Sunday Ticket compels exclusion of his conjoint
    7   model’s results under Rule 702.
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    1   Dated: February 9, 2024             Respectfully submitted,
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